Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 1 of 27 Page ID #:460



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   20
                            UNITED STATES DISTRICT COURT
   21
                          CENTRAL DISTRICT OF CALIFORNIA
   22
   23
   24   In re: Application Pursuant to 28       Case No. 2:21-mc-00374-CAS-MAAx
        U.S.C. § 1782 of Japan Display Inc.,
   25                                           STIPULATED PROTECTIVE
   26                      Petitioner,          ORDER
   27         v.
   28
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 2 of 27 Page ID #:461



    1    Tianma America, Inc.

    2                        Respondent.
    3
    4   1.    PURPOSES AND LIMITATIONS
    5         Discovery in this action is likely to involve production of confidential,
    6   proprietary, or private information for which special protection from public
    7   disclosure and from use for any purpose other than in the Foreign Proceedings may
    8   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
    9   enter the following Stipulated Protective Order. The parties acknowledge that this
   10   Stipulated Protective Order does not confer blanket protections on all disclosures or
   11   responses to discovery and that the protection it affords from public disclosure and
   12   use extends only to the limited information or items that are entitled to confidential
   13   treatment under the applicable legal principles. The parties further acknowledge, as
   14   set forth in Section 13.3 below, that this Stipulated Protective Order does not entitle
   15   them to file confidential information under seal; Local Rule 79-5 sets forth the
   16   procedures that must be followed and the standards that will be applied when a
   17   party seeks permission from the Court to file material under seal.
   18
   19   2.    GOOD CAUSE STATEMENT
   20
   21         This action is likely to involve trade secrets, customer and pricing lists and
   22   other valuable research, development, commercial, financial, technical and/or
   23   proprietary information for which special protection from public disclosure and
   24   from use for any purpose other than prosecution of this action is warranted. Such
   25   confidential and proprietary materials and information consist of, among other
   26   things, confidential business or financial information, information regarding
   27   confidential business practices, or other confidential research, development, or
   28
                                                   2
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 3 of 27 Page ID #:462



    1   commercial information (including information implicating privacy rights of third
    2   parties), technical information (including documents sufficient to show the
    3   structure, manufacture, and operation of certain products (e.g., operation manuals,
    4   product literature, schematics, specifications, GDS (Graphic Design/Data/Database
    5   System), GDSII stream format, DEF (Design Exchange Format), and LEF (Library
    6   Exchange Format) files, process recipes, process design kit deliverable and standard
    7   operating procedure deliverables), information otherwise generally unavailable to
    8   the public, or which may be privileged or otherwise protected from disclosure under
    9   state or federal statutes, court rules, case decisions, or common law. Accordingly,
   10   to expedite the flow of information, to facilitate the prompt resolution of disputes
   11   over confidentiality of discovery materials, to adequately protect information the
   12   parties are entitled to keep confidential, to ensure that the parties are permitted
   13   reasonable necessary uses of such material in preparation for and in the conduct of
   14   the Foreign Proceedings, to address their handling at the end of the Foreign
   15   Proceedings, and to serve the ends of justice, a protective order for such
   16   information is justified in this matter. It is the intent of the parties that information
   17   will not be designated as confidential for tactical reasons and that nothing be so
   18   designated without a good faith belief that it has been maintained in a confidential,
   19   non-public manner, and there is good cause why it should not be part of the public
   20   record of this case.
   21
   22   3.    DEFINITIONS
   23         3.1.   Action: In re: Application Pursuant to 28 U.S.C. § 1782 of Japan
   24                Display Inc., Case No. 2:21-mc-00374-CAS-MAA.
   25         3.2    Foreign Proceedings: The four patent infringement actions filed by
   26                JDI against Tianma Microelectronics Co., Ltd. in the Beijing
   27                Intellectual Property Court in China asserting ZL200610095788.4,
   28                ZL200710146566.5, ZL200710301194.9 and ZL200810082224.6.
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Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 4 of 27 Page ID #:463



    1        3.3.   Challenging Party: A Party or Nonparty that challenges the
    2               designation of information or items under this Stipulated Protective
    3               Order.
    4        3.4.   “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’
    5               EYES ONLY,” and “HIGHLY CONFIDENTIAL – SOURCE CODE”
    6               Information or Items: Information (regardless of how it is generated,
    7               stored or maintained) or tangible things that qualify for protection
    8               under Federal Rule of Civil Procedure 26(c), and as specified above in
    9               the Good Cause Statement.
   10        3.5.   Counsel: Foreign Counsel, Outside Counsel of Record and In-House
   11               Counsel (as well as their support staff).
   12        3.6.   Designating Party: A Party or Nonparty that designates information or
   13               items that it produces in disclosures or in responses to discovery as
   14               “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’
   15               EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”
   16        3.7.   Disclosure or Discovery Material: All items or information, regardless
   17               of the medium or manner in which it is generated, stored, or
   18               maintained (including, among other things, testimony, transcripts, and
   19               tangible things), that is produced or generated in disclosures or
   20               responses to discovery in this matter.
   21        3.8.   Expert: A person with specialized knowledge or experience in a
   22               matter pertinent to the litigation who has been retained by a Party or its
   23               counsel to serve as an expert witness or as a consultant in this Action
   24               or in the Foreign Proceedings.
   25        3.9.   In-House Counsel: Attorneys who are employees of a party to this
   26               Action. In-House Counsel does not include Foreign Counsel, Outside
   27               Counsel of Record, or any other outside counsel.
   28        3.10. Nonparty: Any natural person, partnership, corporation, association,
                                                 4
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 5 of 27 Page ID #:464



    1              or other legal entity not named as a Party to this action.
    2        3.11. Outside Counsel of Record: Attorneys who are not employees of a
    3              party to this Action but are retained to represent or advise a party to
    4              this Action and have appeared in this Action on behalf of that party or
    5              are affiliated with a law firm which has appeared on behalf of that
    6              party, and includes support staff.
    7        3.12 Foreign Counsel: Attorneys who are not employees of a party to this
    8              Action but are retained to represent or advise a party to the Foreign
    9              Proceedings.
   10        3.13. Party: Any party to this Action or the Foreign Proceedings, including
   11              all of its officers, directors, employees, consultants, retained experts,
   12              In-House Counsel, Foreign Counsel, and Outside Counsel of Record
   13              (and their support staffs).
   14        3.14. Producing Party: A Party or Nonparty that produces Disclosure or
   15              Discovery Material in this Action.
   16        3.15. Professional Vendors: Persons or entities that provide litigation
   17              support services (e.g., photocopying, videotaping, translating,
   18              preparing exhibits or demonstrations, and organizing, storing, or
   19              retrieving data in any form or medium) and their employees and
   20              subcontractors.
   21        3.16. Protected Material: Any Disclosure or Discovery Material that is
   22              designated as “CONFIDENTIAL,” or “HIGHLY CONFIDENTIAL –
   23              ATTORNEYS’ EYES ONLY,” or “HIGHLY CONFIDENTIAL –
   24              SOURCE CODE.”
   25        3.17. Receiving Party: A Party that receives Disclosure or Discovery
   26              Material from a Producing Party.
   27        3.18. Source Code Material: Protected Material designated as “HIGHLY
   28              CONFIDENTIAL – SOURCE CODE,” including computer source
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Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 6 of 27 Page ID #:465



    1                code or files that define or otherwise describe in detail the algorithms
    2                or structure of software or hardware designs or live data (e.g., database
    3                files or data as it exists residing in a database or databases).
    4
    5   4.    SCOPE
    6         The protections conferred by this Stipulated Protective Order cover not only
    7   Protected Material, but also (1) any information copied or extracted from Protected
    8   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
    9   and (3) any testimony, conversations, or presentations by Parties or their Counsel
   10   that might reveal Protected Material. The protections conferred by this Stipulated
   11   Protective Order, however, do not cover the following information: (a) any
   12   information that is in the public domain at the time of disclosure to a Receiving
   13   Party or becomes part of the public domain after its disclosure to a Receiving Party
   14   as a result of publication not involving a violation of this Order; and (b) any
   15   information known to the Receiving Party prior to the disclosure or obtained by the
   16   Receiving Party after the disclosure from a source who obtained the information
   17   lawfully and under no obligation of confidentiality to the Designating Party.
   18
   19   5.    DURATION
   20         Even after final disposition of the Foreign Proceedings, the confidentiality
   21   obligations imposed by this Stipulated Protective Order shall remain in effect until
   22   a Designating Party agrees otherwise in writing or a court order otherwise directs.
   23   Final disposition (“Final Disposition”) shall be deemed to be the later of
   24   (1) dismissal of all claims and defenses in the Foreign Proceedings, with or without
   25   prejudice; and (2) final judgment herein after the completion and exhaustion of all
   26   appeals, rehearings, remands, trials, or reviews of the Foreign Proceedings,
   27   including the time limits for filing any motions or applications for extension of time
   28   pursuant to applicable law. The parties and any other person subject to the terms of
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Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 7 of 27 Page ID #:466



    1   this Stipulated Protective Order agree that this Court has and retains jurisdiction
    2   during and after this Action and the Foreign Proceedings are terminated for the
    3   purpose of enforcing this Stipulated Protective Order.
    4
    5   6.    DESIGNATING PROTECTED MATERIAL
    6         6.1.   Exercise of Restraint and Care in Designating Material for Protection.
    7                      Each Party or Nonparty that designates information or items for
    8                protection under this Stipulated Protective Order must take care to
    9                limit any such designation to specific material that qualifies under the
   10                appropriate standards. The Designating Party must designate for
   11                protection only those parts of material, documents, items, or oral or
   12                written communications that qualify so that other portions of the
   13                material, documents, items, or communications for which protection is
   14                not warranted are not swept unjustifiably within the ambit of this
   15                Stipulated Protective Order.
   16                      Mass, indiscriminate, or routinized designations are prohibited.
   17                Designations that are shown to be clearly unjustified or that have been
   18                made for an improper purpose (e.g., to unnecessarily encumber the
   19                case development process or to impose unnecessary expenses and
   20                burdens on other parties) may expose the Designating Party to
   21                sanctions.
   22         6.2.   Manner and Timing of Designations.
   23                      Except as otherwise provided in this Stipulated Protective Order
   24                (see, e.g., Section 6.2(a)), or as otherwise stipulated or ordered,
   25                Disclosure or Discovery Material that qualifies for protection under
   26                this Stipulated Protective Order must be clearly so designated before
   27                the material is disclosed or produced.
   28
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Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 8 of 27 Page ID #:467



    1                    Designation in conformity with this Stipulated Protective Order
    2              requires the following:
    3              (a)   For information in documentary form (e.g., paper or electronic
    4                    documents, but excluding transcripts of depositions or other
    5                    pretrial or trial proceedings), that the Producing Party affix at a
    6                    minimum, the legend “CONFIDENTIAL,” “HIGHLY
    7                    CONFIDENTIAL – ATTORNEYS’ EYES ONLY,” or
    8                    “HIGHLY CONFIDENTIAL – SOURCE CODE” to each page
    9                    that contains protected material. If only a portion or portions of
   10                    the material on a page qualifies for protection, the Producing
   11                    Party also must clearly identify the protected portion(s) (e.g., by
   12                    making appropriate markings in the margins).
   13                          A Party or Nonparty that makes original documents
   14                    available for inspection need not designate them for protection
   15                    until after the inspecting Party has indicated which documents it
   16                    would like copied and produced. During the inspection and
   17                    before the designation, all of the material made available for
   18                    inspection shall be deemed “HIGHLY CONFIDENTIAL –
   19                    ATTORNEYS’ EYES ONLY”.” After the inspecting Party has
   20                    identified the documents it wants copied and produced, the
   21                    Producing Party must determine which documents, or portions
   22                    thereof, qualify for protection under this Stipulated Protective
   23                    Order. Then, before producing the specified documents, the
   24                    Producing Party must affix the legend “CONFIDENTIAL,”
   25                    “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,”
   26                    or “HIGHLY CONFIDENTIAL – SOURCE CODE” to each
   27                    page that contains Protected Material. If only a portion or
   28                    portions of the material on a page qualifies for protection, the
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Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 9 of 27 Page ID #:468



    1                     Producing Party also must clearly identify the protected
    2                     portion(s) (e.g., by making appropriate markings in the
    3                     margins).
    4               (b)   For testimony given in depositions, that the Designating Party
    5                     identify the Disclosure or Discovery Material on the record,
    6                     before the close of the deposition, all protected testimony.
    7               (c)   For information produced in nondocumentary form, and for any
    8                     other tangible items, that the Producing Party affix in a
    9                     prominent place on the exterior of the container or containers in
   10                     which the information is stored the legend “CONFIDENTIAL,”
   11                     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY,”
   12                     or “HIGHLY CONFIDENTIAL – SOURCE CODE.” If only a
   13                     portion or portions of the information warrants protection, the
   14                     Producing Party, to the extent practicable, shall identify the
   15                     protected portion(s).
   16        6.3.   Inadvertent Failure to Designate.
   17                     If timely corrected, an inadvertent failure to designate qualified
   18               information or items does not, standing alone, waive the Designating
   19               Party’s right to secure protection under this Stipulated Protective Order
   20               for such material. Upon timely correction of a designation, the
   21               Receiving Party must make reasonable efforts to assure that the
   22               material is treated in accordance with the provisions of this Stipulated
   23               Protective Order.
   24
   25
   26
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Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 10 of 27 Page ID #:469



    1   7.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
    2         7.1.   Timing of Challenges.
    3                      Any Party or Nonparty may challenge a designation of
    4                confidentiality at any time prior to the Final Disposition of the Foreign
    5                Proceedings. See supra Section 5. Duration.
    6         7.2.   Meet and Confer.
    7                      The Challenging Party shall initiate the dispute resolution
    8                process, which shall comply with Local Rule 37.1 et seq., and with
    9                Section 4 of Judge Audero’s Procedures (“Mandatory Telephonic
   10                Conference for Discovery Disputes”).1
   11         7.3.   Burden of Persuasion.
   12                      The burden of persuasion in any such challenge proceeding shall
   13                be on the Designating Party. Frivolous challenges, and those made for
   14                an improper purpose (e.g., to harass or impose unnecessary expenses
   15                and burdens on other parties) may expose the Challenging Party to
   16                sanctions. Unless the Designating Party has waived or withdrawn the
   17                confidentiality designation, all parties shall continue to afford the
   18                material in question the level of protection to which it is entitled under
   19                the Producing Party’s designation until the Court rules on the
   20                challenge.
   21
   22   8.    ACCESS TO AND USE OF PROTECTED MATERIALS
   23         8.1.   Basic Principles.
   24                      A Receiving Party may use Protected Material that is disclosed
   25                or produced by another Party or by a Nonparty in connection with this
   26
   27   1
         Judge Audero’s Procedures are available at
   28   https://www.cacd.uscourts.gov/honorable-maria-audero.
                                                  10
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 11 of 27 Page ID #:470



    1                Action only for prosecuting, defending, or attempting to settle this
    2                Action or the Foreign Proceedings. Such Protected Material may be
    3                disclosed only to the categories of persons and under the conditions
    4                described in this Stipulated Protective Order. When the Foreign
    5                Proceedings reach a Final Disposition, a Receiving Party must comply
    6                with the provisions of Section 14 below.
    7                      Protected Material must be stored and maintained by a
    8                Receiving Party at a location and in a secure manner that ensures that
    9                access is limited to the persons authorized under this Stipulated
   10                Protective Order.
   11         8.2.   Disclosure of “CONFIDENTIAL” Information or Items.
   12                      Unless otherwise ordered by the Court or permitted in writing
   13                by the Designating Party, a Receiving Party may disclose any
   14                information or item designated “CONFIDENTIAL” only to:
   15                (a)   The Receiving Party’s Outside Counsel of Record, as well as
   16                      employees of said Outside Counsel of Record to whom it is
   17                      reasonably necessary to disclose the information for this Action
   18                      or the Foreign Proceedings;
   19                (b)   The Receiving Party’s Foreign Counsel, as well as employees of
   20                      said Foreign Counsel to whom it is reasonably necessary to
   21                      disclose the information for this Action or the Foreign
   22                      Proceedings;
   23                (c)   The officers, directors, and employees (including In-House
   24                      Counsel) of the Receiving Party to whom disclosure is
   25                      reasonably necessary for this Action or the Foreign Proceedings;
   26                (d)   Experts of the Receiving Party to whom disclosure is reasonably
   27                      necessary for this Action or the Foreign Proceedings and who
   28                      have signed the “Acknowledgment and Agreement to Be
                                                 11
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 12 of 27 Page ID #:471



    1                    Bound” (Exhibit A);
    2              (e)   The courts and their personnel in any proceedings in this Action
    3                    or the Foreign Proceedings, as well as any court to which an
    4                    appeal from this Court or the Foreign Proceedings may be taken;
    5              (f)   Court reporters and their staff;
    6              (g)   Professional jury or trial consultants, mock jurors, and
    7                    Professional Vendors to whom disclosure is reasonably
    8                    necessary for this Action or the Foreign Proceedings and who
    9                    have signed the “Acknowledgment and Agreement to be
   10                    Bound” (Exhibit A);
   11              (h)   The author or recipient of a document containing the
   12                    information or a custodian or other person who otherwise
   13                    possessed or knew the information;
   14              (i)   During their depositions, witnesses, and attorneys for witnesses,
   15                    in the Action or Foreign Proceedings to whom disclosure is
   16                    reasonably necessary provided: (i) the deposing party requests
   17                    that the witness sign the “Acknowledgment and Agreement to
   18                    Be Bound” (Exhibit A); and (ii) the witness will not be
   19                    permitted to keep any confidential information unless they sign
   20                    the “Acknowledgment and Agreement to Be Bound,” unless
   21                    otherwise agreed by the Designating Party or ordered by the
   22                    Court. Pages of transcribed deposition testimony or exhibits to
   23                    depositions that reveal Protected Material may be separately
   24                    bound by the court reporter and may not be disclosed to anyone
   25                    except as permitted under this Stipulated Protective Order; and
   26              (j)   Any mediator or settlement officer, and their supporting
   27                    personnel, mutually agreed upon by any of the parties engaged
   28                    in settlement discussions.
                                               12
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 13 of 27 Page ID #:472



    1         8.3.   Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
    2                ONLY” Information or Items.
    3                      To the extent a Producing Party believes that certain Protected
    4                Material qualifying to be designated CONFIDENTIAL is so sensitive
    5                that its dissemination deserves even further limitation, the Producing
    6                Party may designate such Protected Material “HIGHLY
    7                CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Unless otherwise
    8                ordered by the Court or permitted in writing by the Designating Party,
    9                a Receiving Party may disclose any information or item designated
   10                “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to
   11                individual listed in paragraphs 8.2(a), (b), and (d)-(j).
   12         8.4.   Disclosure of “HIGHLY CONFIDENTIAL – SOURCE CODE”
   13                Information or Items.
   14                      To the extent a Producing Party believes that certain Protected
   15                Material qualifying to be designated CONFIDENTIAL is so sensitive
   16                that its dissemination deserves even further limitation, the Producing
   17                Party may designate such Protected Material “HIGHLY
   18                CONFIDENTIAL – SOURCE CODE.” For Protected Material
   19                designated “HIGHLY CONFIDENTIAL – SOURCE CODE,” the
   20                following additional restrictions apply:
   21
   22                (a)   Access to a Party’s Source Code Material shall be provided in a

   23                      secure remote viewing environment that is (1) hosted in the

   24                      United States, (2) navigable in the English language, and (3)

   25                      simultaneously accessible from an Internet connected device by

   26                      at least six (6) users of the Receiving Party;

   27
                     (b)   The Parties agree to cooperate in good faith to identify an
   28
                                                  13
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 14 of 27 Page ID #:473



    1                    appropriate secure remote viewing vendor and to implement
    2                    remote viewing protocols to maintain the security and integrity
    3                    of the Producing Party’s Source Code Material and not
    4                    unreasonably hinder the Receiving Party’s ability to efficiently
    5                    and effectively conduct the prosecution or defense of this Action
    6                    or the Foreign Proceedings;
    7
    8              (c)   The Producing Party shall provide the Receiving Party with

    9                    information explaining how to access and operate the remote

   10                    viewing environment in order to access the produced Source

   11                    Code Material;

   12
                   (d)   The Producing Party will produce Source Code Material in
   13
                         native format in the remote viewing environment as described
   14
                         above. The Producing Party shall install tools that are sufficient
   15
                         for viewing the Source Code Material (including at least
   16
                         KLayout, available at https://www.klayout.de/build.html),
   17
                         printing the Source Code Material to PDF, and taking
   18
                         screenshots of the Source Code Material. The Receiving Party’s
   19
                         Foreign Counsel, Outside Counsel or Experts may request that
   20
                         additional commercially available software tools be installed in
   21
                         the remote viewing environment, provided, however, that (1) the
   22
                         Receiving Party provides an appropriate license to such software
   23
                         tools; (2) the Producing Party approves such software tools; and
   24
                         (3) such other software tools are reasonably necessary for the
   25
                         Receiving Party to perform its review of the Source Code
   26
                         Material consistent with all of the protections herein. The
   27
                         Producing Party shall approve reasonable requests for additional
   28
                                               14
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 15 of 27 Page ID #:474



    1                         software tools. The Receiving Party must provide the producing
    2                         Party with the CD, DVD, file path, or Advanced Package Tool
    3                         package containing such licensed software tool(s) at least four
    4                         (4) business days in advance of the date upon which the
    5                         Receiving Party wishes to have the additional software tools
    6                         available for use in the remote viewing environment. The
    7                         Producing Party shall make reasonable attempts to install the
    8                         requested software but will not be held responsible for the
    9                         proper setup, functioning, or support of any software requested
   10                         by the Receiving Party;
   11
   12                  (e)    Access to Protected Material designated HIGHLY

   13                         CONFIDENTIAL – SOURCE CODE shall be limited to

   14                         Foreign Counsel, Outside Counsel, and up to three (3) outside

   15                         consultants or experts2 (i.e., not existing employees or affiliates

   16                         of a Party or an affiliate of a Party) retained for the purpose of

   17                         this litigation and approved to access such Protected Materials

   18                         pursuant to paragraph 8.2(d) above, as well as those individuals

   19                         in paragraphs 8.2(e), (f), (g), and 5(j) above, except that mock

   20                         jurors shall not have access to Protected Material designated

   21                         HIGHLY CONFIDENTIAL – SOURCE CODE;

   22
                       (f)    A Receiving Party may include excerpts of Source Code
   23
                              Material in a pleading, exhibit, expert report, discovery
   24
                              document, deposition transcript, or other court documents,
   25
   26          2
                 For the purposes of this paragraph, an outside consultant or expert is defined to include
   27   the outside consultant’s or expert’s direct reports and other support personnel, such that the
        disclosure to a consultant or expert who employs others within his or her firm to help in his or her
   28   analysis shall count as a disclosure to a single consultant or expert.
                                                        15
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 16 of 27 Page ID #:475



    1                    provided that the Source Code Material is appropriately
    2                    designated under this Stipulated Protective Order, restricted to
    3                    those who are entitled to have access to them as specified
    4                    herein, and, if filed with this Court, filed under seal in
    5                    accordance with the Court’s rules, procedures, and orders or, if
    6                    filed in the Foreign Proceedings, filed consistent with Section
    7                    13.3. To the extent portions of Source Code Material are
    8                    included or cited in any document, information, or material
    9                    (“Source Code Document”) (such as a deposition transcript),
   10                    either (1) the entire Source Code Document will be stamped and
   11                    treated as HIGHLY CONFIDENTIAL – SOURCE CODE or (2)
   12                    those pages containing the cited Source Code Material will be
   13                    separately stamped and treated as HIGHLY CONFIDENTIAL –
   14                    SOURCE CODE;
   15
   16              (g)   Except as set forth in paragraphs 8.4(h) and 8.4(k) below, no

   17                    electronic copies of Source Code Material shall be made without

   18                    prior written consent of the Producing Party, except as necessary

   19                    to create documents consistent with paragraph 8.4(f);

   20
                   (h)   The Receiving Party shall be permitted to request production of
   21
                         a reasonable number of electronic copies of portions of Source
   22
                         Code Material, all of which shall be designated and clearly
   23
                         labeled “HIGHLY CONFIDENTIAL – SOURCE CODE.”
   24
                         Using the software available in the remote viewing environment,
   25
                         the Receiving Party shall either create PDFs or take electronic
   26
                         screenshots of the portions of Source Code Material the
   27
                         Receiving Party is requesting and save them in a folder named
   28
                                                16
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 17 of 27 Page ID #:476



    1                    “Print Requests” with a subfolder identifying the date of the
    2                    request. The filename of the requests must include identifying
    3                    information, such as the GDS filename followed by a unique
    4                    number. The production request shall be served via email
    5                    identifying the subfolders of the “Print Requests” folder that the
    6                    receiving Party is requesting to be produced. Within three (3)
    7                    business days of such request, the Producing Party shall
    8                    electronically produce all such requested Source Code Material
    9                    endorsed with unique Bates numbers, the filename, and the
   10                    “HIGHLY CONFIDENTIAL – SOURCE CODE” designation
   11                    (the “Produced Source Code Materials”);
   12
   13              (i)   The Receiving Party shall store the electronic Produced Source

   14                    Code Materials in a secure electronic storage location that is

   15                    accessible only by Foreign Counsel and Outside Counsel.

   16                    Except as permitted by paragraphs 8.4(f) and 8.4(k), the

   17                    electronic Produced Source Code Materials shall not be copied

   18                    to any other electronic storage location, except temporarily as

   19                    technically necessary to electronically view the materials (i.e., a

   20                    temporary copy stored in a viewing computer’s memory). The

   21                    electronic Produced Source Code Materials shall not transmitted

   22                    by email or transmitted externally;

   23
                   (j)   The Receiving Party shall be allowed to make printouts of the
   24
                         Produced Source Code Materials as reasonably necessary to
   25
                         collaborate between the Receiving Party’s Foreign Counsel,
   26
                         Outside Counsel, consultants, or experts, provided that any such
   27
                         printouts shall be labeled “HIGHLY CONFIDENTIAL –
   28
                                               17
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 18 of 27 Page ID #:477



    1                      SOURCE CODE” and treated as such, and the Receiving Party
    2                      maintains a log of all such materials that are printed. Such
    3                      printouts may only be transported via hand carry, Federal
    4                      Express or other similarly reliable courier. If the receiving
    5                      Party’s Foreign Counsel, Outside Counsel, consultants, or
    6                      experts obtain printouts of the Produced Source Code Materials,
    7                      the Receiving Party shall ensure that such Foreign Counsel,
    8                      Outside Counsel, consultants, or experts keep the printouts in a
    9                      secured locked area in the offices of such Foreign Counsel,
   10                      Outside Counsel, consultants, or expert. The Receiving Party
   11                      may also temporarily keep the printouts at: (i) the site for any
   12                      proceedings(s) relating to the Source Code Material, for the
   13                      dates associated with the proceeding(s); (ii) the sites where any
   14                      deposition(s) relating to the Source Code Material are taken, for
   15                      the dates associated with the deposition(s); and (iii) any
   16                      intermediate location reasonably necessary to transport the
   17                      printouts (e.g., a hotel prior to a Court proceeding or
   18                      deposition); and
   19
   20                (k)   For the purpose of proceeding(s) or deposition(s) as set forth in

   21                      paragraph 8.4(j) above, Produced Source Code Material may be

   22                      loaded onto a stand-alone computer or removable electronic

   23                      media (e.g., a DVD, CD-ROM, or flash memory “stick”) and is

   24                      at all times subject to the transport restrictions set forth therein.

   25
   26         8.5.   Prosecution Bar.

   27                      Any attorney representing a Party and any person associated

   28                with a Party and permitted to receive the other Party’s Protected

                                                  18
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 19 of 27 Page ID #:478



    1              Material that is designated HIGHLY CONFIDENTIAL – SOURCE
    2              CODE (collectively “HIGHLY SENSITIVE MATERIAL”), who
    3              obtains, receives, has access to, or otherwise learns, in whole or in
    4              part, the other Party’s HIGHLY SENSITIVE MATERIAL under this
    5              Stipulated Protective Order shall not prepare, prosecute, supervise, or
    6              assist in the preparation or prosecution of any patent application
    7              pertaining to the field of the invention of the patents-in-suit on behalf
    8              of the Receiving Party or its acquirer, successor, predecessor, or other
    9              affiliate during the pendency of this Action and for one year after its
   10              conclusion, including any appeals. For purposes of this paragraph,
   11              “prosecution” includes directly or indirectly drafting, amending,
   12              advising, or otherwise affecting the scope or maintenance of patent
   13              claims. To avoid any doubt, “prosecution” as used in this paragraph
   14              does not include representing a party in a proceeding that challenges a
   15              patent before a domestic or foreign agency (including, but not limited
   16              to, a reissue protest, ex parte reexamination, inter partes
   17              reexamination, post grant review, covered business method patent
   18              review, or inter partes review) (collectively, “Validity Challenge
   19              Proceedings”). For the further avoidance of doubt, this prosecution
   20              bar applies to preparing and/or providing advice, counsel, or
   21              suggestions regarding, or in any other way influencing, new or
   22              amended claims in connection with proceedings before the Patent and
   23              Trademark Appeal Board (PTAB) or United States Patent and
   24              Trademark Office, but does not apply to other participation in Validity
   25              Challenge Proceedings. To ensure compliance with the purpose of this
   26              provision, each Party shall create an “Ethical Wall” between those
   27              persons with access to HIGHLY SENSITIVE MATERIAL and any
   28              individuals who, on behalf of the Party or its acquirer, successor,
                                                19
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 20 of 27 Page ID #:479



    1                predecessor, or other affiliate, prepare, prosecute, supervise or assist in
    2                the preparation or prosecution of any patent application as described
    3                above.
    4
    5   9.    PROTECTED MATERIAL SUBPOENAED OR ORDERED
    6         PRODUCED IN OTHER LITIGATION
    7         If a Party is served with a subpoena or a court order issued in other litigation
    8   that compels disclosure of any information or items designated in this Action as
    9   “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   10   ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE,” that Party must:
   11         (a)    Promptly notify in writing the Designating Party. Such notification
   12                shall include a copy of the subpoena or court order;
   13         (b)    Promptly notify in writing the party who caused the subpoena or order
   14                to issue in the other litigation that some or all of the material covered
   15                by the subpoena or order is subject to this Stipulated Protective Order.
   16                Such notification shall include a copy of this Stipulated Protective
   17                Order; and
   18         (c)    Cooperate with respect to all reasonable procedures sought to be
   19                pursued by the Designating Party whose Protected Material may be
   20                affected.
   21         If the Designating Party timely seeks a protective order, the Party served with
   22   the subpoena or court order shall not produce any information designated in this
   23   action as “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’
   24   EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE” before a
   25   determination by the Court from which the subpoena or order issued, unless the
   26   Party has obtained the Designating Party’s permission. The Designating Party shall
   27   bear the burden and expense of seeking protection in that court of its confidential
   28   material and nothing in these provisions should be construed as authorizing or
                                                  20
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 21 of 27 Page ID #:480



    1   encouraging a Receiving Party in this Action to disobey a lawful directive from
    2   another court.
    3
    4   10.   A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
    5         PRODUCED IN THIS LITIGATION
    6         10.1. Application.
    7                        The terms of this Stipulated Protective Order are applicable to
    8               information produced by a Nonparty in this Action and designated as
    9               “CONFIDENTIAL,” “HIGHLY CONFIDENTIAL – ATTORNEYS’
   10               EYES ONLY,” or “HIGHLY CONFIDENTIAL – SOURCE CODE.”
   11               Such information produced by Nonparties in connection with this
   12               litigation is protected by the remedies and relief provided by this
   13               Stipulated Protective Order. Nothing in these provisions should be
   14               construed as prohibiting a Nonparty from seeking additional
   15               protections.
   16         10.2. Notification.
   17                        In the event that a Party is required, by a valid discovery
   18               request, to produce a Nonparty’s confidential information in its
   19               possession, and the Party is subject to an agreement with the Nonparty
   20               not to produce the Nonparty’s confidential information, then the Party
   21               shall:
   22               (a)      Promptly notify in writing the Requesting Party and the
   23                        Nonparty that some or all of the information requested is subject
   24                        to a confidentiality agreement with a Nonparty;
   25               (b)      Promptly provide the Nonparty with a copy of the Stipulated
   26                        Protective Order in this Action, the relevant discovery
   27                        request(s), and a reasonably specific description of the
   28                        information requested; and
                                                   21
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 22 of 27 Page ID #:481



    1                (c)   Make the information requested available for inspection by the
    2                      Nonparty, if requested.
    3         10.3. Conditions of Production.
    4                      If the Nonparty fails to seek a protective order from this Court
    5                within fourteen (14) days after receiving the notice and accompanying
    6                information, the Receiving Party may produce the Nonparty’s
    7                confidential information responsive to the discovery request. If the
    8                Nonparty timely seeks a protective order, the Receiving Party shall not
    9                produce any information in its possession or control that is subject to
   10                the confidentiality agreement with the Nonparty before a
   11                determination by the Court. Absent a court order to the contrary, the
   12                Nonparty shall bear the burden and expense of seeking protection in
   13                this Court of its Protected Material.
   14
   15   11.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   16         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
   17   Protected Material to any person or in any circumstance not authorized under this
   18   Stipulated Protective Order, the Receiving Party immediately must (1) notify in
   19   writing the Designating Party of the unauthorized disclosures, (2) use its best
   20   efforts to retrieve all unauthorized copies of the Protected Material, (3) inform the
   21   person or persons to whom unauthorized disclosures were made of all the terms of
   22   this Stipulated Protective Order, and (4) request such person or persons to execute
   23   the “Acknowledgment and Agreement to be Bound” (Exhibit A).
   24   ///
   25   12.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   26         PROTECTED MATERIAL
   27         When a Producing Party gives notice to Receiving Parties that certain
   28   inadvertently produced material is subject to a claim of privilege or other
                                                  22
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 23 of 27 Page ID #:482



    1   protection, the obligations of the Receiving Parties are those set forth in Federal
    2   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
    3   whatever procedure may be established in an e-discovery order that provides for
    4   production without prior privilege review. Pursuant to Federal Rule of Evidence
    5   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure
    6   of a communication or information covered by the attorney-client privilege or work
    7   product protection, the parties may incorporate their agreement in the Stipulated
    8   Protective Order submitted to the Court.
    9
   10   13.   MISCELLANEOUS
   11         13.1. Right to Further Relief.
   12                       Nothing in this Stipulated Protective Order abridges the right of
   13                any person to seek its modification by the Court in the future.
   14         13.2. Right to Assert Other Objections.
   15                       By stipulating to the entry of this Stipulated Protective Order, no
   16                Party waives any right it otherwise would have to object to disclosing
   17                or producing any information or item on any ground not addressed in
   18                this Stipulated Protective Order. Similarly, no Party waives any right
   19                to object on any ground to use in evidence of any of the material
   20                covered by this Stipulated Protective Order.
   21         13.3. Filing Protected Material.
   22                       Without written permission from the Designating Party or a
   23                court order secured after appropriate notice to all interested persons, a
   24                Party may not file in the public record in this Action any Protected
   25                Material. A Receiving Party may not disclose to a foreign court or file
   26                in the Foreign Proceedings any Protected Material obtained in this
   27                Action under 28 U.S.C. § 1782 unless the confidentiality of the
   28                Protected Material will be maintained such that disclosure of and
                                                   23
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 24 of 27 Page ID #:483



    1               access to the Protected Material is limited solely to the persons or
    2               entities authorized under this Stipulated Protective Order. Further,
    3               even if a foreign court’s procedure would permit them to do so, the
    4               Parties and their employees are prohibited (except if otherwise
    5               permitted under Section 8 of this Stipulated Protective Order) from
    6               accessing Protected Material filed in the Foreign Proceedings.
    7                      A Party that seeks to file under seal any Protected Material in
    8               this Action must comply with Local Rule 79-5. Protected Material
    9               may only be filed under seal pursuant to a court order authorizing the
   10               sealing of the specific Protected Material at issue. If a Party's request
   11               to file Protected Material under seal is denied by the Court, then the
   12               Receiving Party may file the information in the public record unless
   13               otherwise instructed by the Court.
   14         13.4. Export Control.
   15                      Disclosure of Protected Material shall be subject to all
   16               applicable laws and regulations relating to the export of technical data
   17               contained in such Protected Material, including the release of such
   18               technical data to foreign persons or nationals in the United States or
   19               elsewhere. The Producing Party shall be responsible for identifying
   20               any such controlled technical data, and the Receiving Party shall take
   21               measures necessary to ensure compliance.
   22
   23   14.   FINAL DISPOSITION
   24         After the Final Disposition, within sixty (60) days of a written request by the
   25   Designating Party, each Receiving Party must return all Protected Material to the
   26   Producing Party or destroy such material. As used in this subdivision, “all
   27   Protected Material” includes all copies, abstracts, compilations, summaries, and any
   28   other format reproducing or capturing any of the Protected Material. Whether the
                                                 24
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 25 of 27 Page ID #:484



    1   Protected Material is returned or destroyed, the Receiving Party must submit a
    2   written certification to the Producing Party (and, if not the same person or entity, to
    3   the Designating Party) by the 60-day deadline that (1) identifies (by category,
    4   where appropriate) all the Protected Material that was returned or destroyed and
    5   (2) affirms that the Receiving Party has not retained any copies, abstracts,
    6   compilations, summaries or any other format reproducing or capturing any of the
    7   Protected Material. Notwithstanding this provision, Counsel is entitled to retain an
    8   archival copy of all pleadings; motion papers; trial, deposition, and hearing
    9   transcripts; legal memoranda; correspondence; deposition and trial exhibits; expert
   10   reports; attorney work product; and consultant and expert work product, even if
   11   such materials contain Protected Material. Any such archival copies that contain or
   12   constitute Protected Material remain subject to this Stipulated Protective Order as
   13   set forth in Section 5.
   14
   15   15.   VIOLATION
   16         Any violation of this Stipulated Order may be punished by any and all
   17   appropriate measures including, without limitation, contempt proceedings and/or
   18   monetary sanctions.
   19
   20   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

   21
   22   Dated: April 19, 2021            /s/ Eric J. Klein
                                         By: Eric J. Klein (pro hac vice)
   23                                      eklein@velaw.com
                                         Jeffrey R. Swigart (pro hac vice)
   24                                      jswigart@velaw.com
                                         VINSON & ELKINS L.L.P.
   25                                    2001 Ross Avenue, Suite 3900
                                         Dallas, TX 75201-2975
   26                                    Telephone: 214.220.7700 / Fax: 214.220.7716
   27                                    Abigail Lubow (CA SBN: 314396)
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   28                                    VINSON & ELKINS L.L.P.
                                                  25
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 26 of 27 Page ID #:485


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                                     Telephone: 310.200.4060 / Fax: 310.496.1540
    6
                                     Attorneys for Petitioner Japan Display Inc.
    7
    8
        Dated: April 19, 2021        /s/ Aidan Skoyles
    9                                By: Aidan C. Skoyles (pro hac vice application to
   10                                be filed)
                                     aidan.skoyles@finnegan.com
   11
                                     FINNEGAN LLP
   12                                901 New York Avenue N.W.
                                     Washington, DC 20001
   13
                                     Telephone: 202-408-4000
   14                                Facsimile: 202-408-4400
   15
                                     Attorney for Respondent Tianma America, Inc.
   16
   17
        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
                                        RDE
                                          ERED.
   18
   19
        Dated:   04/20/2021
   20                                             Marria A.
                                                  Maria  A. Audero
                                                            Audero
                                                  United
                                                  Unit
                                                     ted States Magistrate Judge
   21
   22
   23
   24
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   26
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                                             26
Case 2:21-mc-00374-CAS-MAA Document 15 Filed 04/20/21 Page 27 of 27 Page ID #:486



    1                                           EXHIBIT A
    2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3           I,                                  [full name], of
    4                           [address], declare under penalty of perjury that I have read in its
    5   entirety and understand the Stipulated Protective Order that was issued by the
    6   United States District Court for the Central District of California on
    7   [date] in the case of
    8   [case name and number]. I agree to comply with and to be bound by all the terms
    9   of this Stipulated Protective Order, and I understand and acknowledge that failure
   10   to so comply could expose me to sanctions and punishment in the nature of
   11   contempt. I solemnly promise that I will not disclose in any manner any
   12   information or item that is subject to this Stipulated Protective Order to any person
   13   or entity except in strict compliance with the provisions of this Stipulated Protective
   14   Order.
   15           I further agree to submit to the jurisdiction of the United States District Court
   16   for the Central District of California for the purpose of enforcing the terms of this
   17   Stipulated Protective Order, even if such enforcement proceedings occur after
   18   termination of this action. I hereby appoint                                 [full name]
   19   of                                                       [address and telephone number]
   20   as my California agent for service of process in connection with this action or any
   21   proceedings related to enforcement of this Stipulated Protective Order.
   22
   23   Signature:
   24   Printed Name:
   25   Date:
   26   City and State Where Sworn and Signed:
   27
   28
                                                     27
